          Case 24-55036-jwc                    Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                          Desc Main
                                                                   Document      Page 1 of 50
                                                                                                                 FILED    Cl EM.;'S OFFICE
                                                                                                                 U.S. DM-1Rt.FITS:Y COURT
  Fill in this information to identify your case:
                                                                                                                          OF Cr -
  Debtor 1                  (()AAA          P.Q_SkAin                       S
                         t Name               Middle Name                      Last Name
                                                                                                                 2024 JUN            Pli 2: 140
  Debtor 2
  (Spouse, if filing) First Name              Middle Name                      Last Name

                                                                                                                         VA NIA S.     _
  United States Bankruptcy Court for the:                   District of
                                                                                                                              .  A
  Case number           2/Li
  (If known)                                                                                                                         Ll Check if this is an
                                                                                                                                           amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        04/22

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


  Part 1:         Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

       Li Married
    verNot married


   2. During the last 3 years, have you lived anywhere other than where you live now?
       CD No
                                            lived in the                                        r..n!

               Debtor 1:                                                  Dates Debtor 1   Debtor 2:                                        Dates Debtor 2
                                                                          lived there                                                       lived there


                                                                                           LI Same as Debtor 1                             D   Same as Debtor 1


                Number
                               Oyu/lob iG
                                   Street
                                                            %Ns From                                                                           From
                                                                                              Number Street
                                                                          To                                                                   To


                              5-1-b         Oaoz,IP(42 302A                                   City               State ZIP Code

                                                                                           D Same as Debtor 1                              LI Same as Debtor 1
             "3`10   VI (Arbvi                   LaiAL                    From                                                                 From
              Number  Street                                                                  Number Street
                                                                          To                                                                   To
                         CAbl tid 5(              6P

                54b      c-k-i7ri of y. 6h           307M
                City                        State ZIP Code                                    City               State    ZIP Code


   3. Within the iast -y- ats, did you ever live with a spouso or legal equivalent in a community property state or territory? (Cctniounily property
      states and territories include Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
   t/no
       lj Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 CM
Official Form 107
                 Explain the Sources of Your Income

                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 1
              Case 24-55036-jwc                          Doc 24                  Filed 06/07/24 Entered 06/07/24 15:25:24                                      Desc Main
                                                                                Document      Page 2 of 50

                     "(Nt
                    Aarne
                                 h
                                Mddle N   e
                                                bil      (k
                                                      'Nee
                                                        Last       rn
                                                                            'btaN                                Case number (ifknown)    2) -1             3 (40   j ("I

             jou have any income from employment or from operating a business during this year or the two previous calendar years?
          , in the total amount of income you received from all jobs and all businesses, including part-time activities.
       ,r you are filing a joint case and you have income that you receive together, list it only once under Debtor I.

       U No
   )     ' Yes. Fill in the details.

                                                                    Debtor 1                                               I Debtor 2

                                                                    Sources of income             Gross income               Sources of income           Gross income
                                                                    Check all that apply.         (before deductions and     Check all that apply.       (before deductions and
                                                                                                  exclusions)                                            exclusions)

                                                                    O Wages, commissions,                                    O Wages, commissions,
           From January 1 of current year until
                                                                      bonuses, tips                                            bonuses, tips
           the date you filed for bankruptcy:
                                                                    •      Operating a business                              O Operating a business


                                                                   I gr Wages, commissions,                                  O Wages, commissions,
           For last calendar year:
                                                                        bonuses, tips                                          bonuses, tips
           (January 1 to December 31,243 L-                    )    0 Operating a business                                   Ii   Operating a business
                                              YYYY


            For the calendar year before that:
                                                                    0 Wages, commissions,                                    O Wages, commissions,

            (January 1 to December 31, 2,02' 2.) tp-Operating a business
                                                                           bonuses, tips
                                                                                                      31 o 2A.00 0 Operating a business
                                                                                                                               bonuses, tips

                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    -eernpinyment r.d ni"er public benefit payments; pensions; rental income; interest; dividends; monoy collol:ied from lawsuits; rovIiie_.s .and.
    prrribling and Inf,cry winnings. If you are filing.a joint case and yrui haye income that yoli received together, list it only woe undPr Debtor 1.

       List each source and the gross income from each source separately. Do not include income that you listed in line 4.

       D No
   vd      Yes. Fill in the details.



                                                                        Sources of income         Gross income from            Sources of income         Gross income from
                                                                        Describe below.           each source                  Describe below.           each source
                                                                                                  (before deductions and                                 (before deductions and
                                                                                                  exclusions)                                            exclusions)



             From January 1 of current year until
                                                                   CA;(01 51449tinq' $ 11 6 bD o
             the date you filed for bankruptcy:




             For last calendar year:
             (January 1 to December 31 i i724)
                                               YYYY




             For the calendar year before that:
             (January 1 to December
                                               YYYY




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                page 2
       Case 24-55036-jwc                          Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                           Desc Main
                                                                      Document      Page 3 of 50

Debtor 1
           CaroAtt.\ (Li 66\ SiA
              list Name
                              v  Middle Name              Last Name
                                                                                                      Case number (if known)   211 - 5-5036 0

 Part 3:    List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     LI No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

             LI No. Go to line 7.

             LI Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             *Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

   1,X1'Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

            seerNo. Go to line 7.

             D Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and
                             alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                           Dates of     Total amount paid          Amount you still owe   Was this payment for...
                                                                           payment


                                                                                                                                             Mortgage
                     Creditor's Name
                                                                                                                                          12 C9,


                     Number       Street                                                                                                  D Credit card
                                                                                                                                          LI Loan repayment
                                                                                                                                          U Suppliers or vendors
                                               State            ZIP Code
                                                                                                                                          LI Other
                      City




                                                                                                                                          LI Mortgage
                      Creditor's Name
                                                                                                                                          LI Car
                                                                                                                                          1:1 Credit card
                      Number      Street
                                                                                                                                          LI Loan repayment
                                                                                                                                          U Suppliers or vendors
                                                                                                                                          1:1 Other
                      City                     State            ZIP Code




                                                                                                                                              Mortgage
                      Creditor's Name
                                                                                                                                          LI Car
                      Number      Street
                                                                                                                                          LI Credit card
                                                                                                                                          LI Loan repayment
                                                                                                                                          LI Suppliers or vendors

                      City                     State            ZIP Code
                                                                                                                                          D Other



 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                            page 3
       Case 24-55036-jwc                             Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                  Desc Main
                                                                        Document      Page 4 of 50

Debtor 1
                   First Name        Middle Name
                                                              sn,f-14‘
                                                            Last Name
                                                                                                        Case number (/f known)       - 5-,co 3 L. .-j

 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
    Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
    corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
    agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
    such as child support and alimony.

           No
     U Yes. List all payments to an insider.
                                                                            Dates of    Total amount       Amount you still      Reason for this payment
                                                                            payment     paid               owe




            Insiders Name



            Number        Street




            City                                   State    ZIP Code




            Insiders Name


            Number         Street




            rity                                   State    ZIP Code


  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

    ieelo
      U Yes. List all payments that benefited an insider.
                                                                            Dates of     Total amount       Amount you still     Reason for this payment
                                                                            payment      paid               owe
                                                                                                                                 Include creditor's name



            Insiders Name



            Number         Street




            City                                   State     ZIP Code




             Insiders Name



             Number         Street




             City                                   State    ZIP Code




 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 4
       Case 24-55036-jwc                  Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                      Desc Main
                                                             Document      Page 5 of 50

Debtor 1                NiV ‘ Mid Name
                Irst Name                        Last Name
                                                                                                   Case number of known)    2-11-6-6           3 L,

  Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

   kr.rNo
     U Yes. Fill in the details.
                                                        Nature of the case                   Court or agency                                   Status of the case



           Case title                                                                                                                          Q   Pending
                                                                                           Court Name
                                                                                                                                               D   On appeal

                                                                                           Number      Street                                 Li Concluded
           Case number
                                                                                           City                     State        ZIP Code




           Case title                                                                      Court Name
                                                                                                                                               Li Pending
                                                                                                                                               O   On appeal

                                                                                           1Number     Street                                  O   Concluded


            Case number
                                                                                           iCity                    State        ZIP Code


  111 Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
      Check all that apply and fill in the details below.

   I/ 11\1o. (3o to          1
     Li Yes. Fill in the information below.
                                                                  Describe the property                                           Date       Value of the property




                Creditors Name



                 Number     Street                                Explain what happened


                                                                  Li Property was repossessed.
                                                                  Li Property was foreclosed.
                                                                  Li Property was garnished.
                 City                    State   ZIP Code         LI Property was attached, seized, or levied.
                                                                  Describe the property                                            Date       Value of the propert3




                 Creditor's Name



                 Number     Street
                                                                   Explain what happened


                                                                   Li Property was repossessed.
                                                                   Li Property was foreclosed.
                                         State   ZIP Code
                                                                   Li Property was garnished.
                 City
                                                                   0 Property was attached, seized, or levied.
                                                                                                                             •




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5
         Case 24-55036-jwc                            Doc 24        Filed 06/07/24 Entered 06/07/24 15:25:24                             Desc Main
                                                                   Document      Page 6 of 50

                                   PLSI(IALik.                                                        Case number yr-
                                                                                                                        21( - 5 5-02 4
                  .ame        Wed Name                    M ame                                                                                   LI


       .nin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    .iccounts or refuse to make a payment because you owed a debt?

  1)21<io
   1:1 Yes. Fill in the details.
                                                              Describe the action the creditor took                     Date action      Amount
                                                                                                                        was taken
        Creditors Name



        Number    Street




        City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

   veNo
    0 Yes

MCI            List Certain Gifts and Contributions


 13. Witl3iri 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

        No
        s(C.ss. Hi iii ih ULdn,          utAI gift.


         Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave      Value
         per person                                                                                                     the gifts




        Person to Whom You Gave the Gift




        Number    Street



        City                           State   ZIP Code


        Person's relationship to you



        Gifts with a total value of more than $600            Describe the gifts                                        Dates you gave     Value
        per person




        Person to Whom You Gave the Gift




        Number      Street



        City                           State   ZIP Code


        Person's relationship to you



Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 6
           Case 24-55036-jwc                       Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                          Desc Main
                                                                     Document      Page 7 of 50

Debtor 1         CArivveh
                  First Name Middle Narne
                                                            d_511,;(141
                                                        Last a e     .                                        Case number Of known)     2(i             03         C.



    14 Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

            No
       U    Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities              Describe what you contributed                                              Date you          Value
             that total more than $600                                                                                                   contributed




            Chanty's Name




            Number     Street



            City         State       ZIP Code




    Part 6:          List Certain Losses


    15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
       disaster, or gambling?



            Ves. Ri-in the details. -


              Describe the property you lost and               Describe any insurance coverage for the loss                              Date of your      Value of property
              how the loss occurred                                                                                                      loss              lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule 1,B: Properly.




    Part 7:        List Certain Payments or Transfers

    16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
        you consulted about seeking bankruptcy or preparing a bankruptcy petition?
        Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

1    werNo
        U   Yes. Fill in the details.

                                                                   Description and value of any property transferred                     Date payment or   Amount of payment
                                                                                                                                         transfer was
              Person Who Was Paid                                                                                                        made


              Number     Street




              City                       State   ZIP Code


              Email or website address

              Person Who Made tha Payment. if Not You


 Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
           Case 24-55036-jwc                                 Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                        Desc Main
                                                                               Document      Page 8 of 50

debtor 1        CAal        f01
                    First Name      Middle
                                             P
                                                 oe
                                                      Sitl   (AO
                                                                 Last Name
                                                                              Pt:4      1                           Case number (if known)   2ti 6"3--cx26

                                                                           Description and value of any property transferred                 Date payment or      Amount of
                                                                                                                                             transfer was made    payment


            Person Who Was Paid



            Number        Street




            City                         State        ZIP Code




            Email or website address



            Person Who Made the Payment, if Not You



 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
     LI Yes. Fill in the details.
                                                                           Description and value of any property transferred                  Date payment or     Amount of payment
                                                                                                                                              transfer was
                                                                                                                                              made
             Person Who Was Paid



             Number        Street




             City                            State     ZIP Code        ,

  18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.


     D Yes. Fill in the details.

                                                                           Description and value of property         Describe any property or payments received      Date transfer
                                                                           transferred                               or debts paid in exchange                       was made

             Person Who Received Transfer



             Number        Street




             City                            State    ZIP Code


             Person's relationship to you
           •--•-       y- • -^-,
             Person Who Received Transfer



             Number        Street




             City                            State    ZIP Code

             Person's relationship to you

Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 8
       Case 24-55036-jwc                         Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                      Desc Main
                                                                    Document      Page 9 of 50

Debtor 1
                                 Ltdle Name       hair, 5h.tciti,
                                                       L st Name
                                                                                                         Case number (irk„„,v„)    29 -- 557) 36 —,o/

 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)
   ,
   1,4.1 No
     CI Yes. Fill in the details.

                                                               Description and value of the property transferred                                           Date transfer
                                                                                                                                                           was made


           Name of trust




  Part 8: List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units
  20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
   leffiNo
      0 Yes. Fill in the details.
                                                                   Last 4 digits of account number   Type of account or           Date account was       Last balance before
                                                                                                     instrument                   closed, sold, moved,   closing or transfer
                                                                                                                                  or transferred

            Name of Fima,Hai Im.tntion
                                                                   )0(XX-                            LI Checking

            Number     Street
                                                                                                     LI Savings
                                                                                                     0 Money market
                                                                                                     0 Brokerage
             City                      State    ZIP Code
                                                                                                     0 Other


                                                                   XXXX—                             0 Checking
             Name of Financial Institution
                                                                                                     0 Savings
             Number    Street                                                                        LI Money market
                                                                                                     0 Brokerage
                                                                                                     0 Other
             City                       State   ZIP Code


  21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
    t„iarrio
      0 Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                        • Do you still
                                                                                                                                                                  have it?

                                                                                                                                                                 LJ No
             Name of Financial Institution                                                                                                                       0 Yes
                                                                   Name


             Number     Street                                     Number   Street



                                                                   City       State     ZIP Code

             City                       Stte    ZIP Code



 Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 9
       Case 24-55036-jwc                            Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                          Desc Main
                                                                      Document      Page 10 of 50

Debtor 1      Cai{ &van
                   First Name      Middle Name
                                                                 ShAl
                                                          Last Name
                                                                           ‘ IP\                                      Case number (tknow.) 2   1/   55 -6312 --L)



 22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
1 VErNlo
   0 Yes. Fill in the details.
                                                               . Who else has or had access to it?                         Describe the contents                    Do you still
                                                                                                                                                                    have it?

                                                                                                                                                                        No
           Name of Storage Facility                               Name
                                                                                                                                                                    U Yes
            Number        Street                                  Number    Street



                                                                  CityState ZIP Code


            City                        State     ZIP Code



  Part 9:             Identify Property You Hold or Control for Someone Else
  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
      or hold in trust for someone.
   tetno
     0 Yes. Fill in the details.
                                                                 Where is the property?                                   • Describe the property              Value


            Owner's Name

                                                                Number     Street
            Number        Street




                                                               -City, ,                        State      7I1' Code
                                         State.   ZIP '7:ode


  Part 10:            Give Details About Environmental information

  For the purpose of Part 10, the following definitions apply:
  in Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  a Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
    utilize it or used to own, operate, or utilize it, including disposal sites.

  a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.

  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
      0 Yes. Fill in the details.
                                                                  Governmental unit                            Environmental law, if you know it              Date of notice



           Name of site                                          Governmental unit


           Number        Street                                  Number    Street


                                                                 City                  State   ZIP Code



           City                         State     ZIP Code




 Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 10
        Case 24-55036-jwc                            Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                                    Desc Main
                                                                        Document      Page 11 of 50

                                                                                                                                                                     —   *Di
Debtor 'I                                                                                                                Case number (if known)   2 'i          5 05                            t;7




  26. Have you notified any governmental unit of any release of hazardous material?

            No
      0 Yes. Fill in the details.
                                                                   Governmental unit                                 Environmental law, if you know it                         Date of notice




                Name of site                                       Governmental unit


                Number    Street                                   Number      Street



                                                                   City                   State    ZIP Code

                City                      State     ZIP Code


  26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    VErNo
     0 Yes. Fill in the details.
                                                                                                                                                                                Status of the
                                                                        Court or agency                                   Nature of the case
                                                                                                                                                                                case

            Case title
                                                                                                                                                                                O   Pending
                                                                        Court Name
                                                                                                                                                                                D On appeal
                                                                        Number   Street                                                                                         O   Concluded


            Casp.rumber             _                                   CIty                      State   7IP Code


  Part 11:             Give Details About Your Business or Connections to Any Business
  27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        O A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
      vEr -A member of a limited liability company (LLC) or limited liability partnership (LLP)
        O A partner in a partnership
        O An officer, director, or managing executive of a corporation
            •      An owner of at least 5% of the voting or equity securities of a corporation

       O No. None of the above applies. Go to Part 12.
       • Yes. Check all that apply above and fill in the details below for each business.
                                        Aidi R                 45. Describe the nature of the business                                    Employer Identification number
                   1 ,c4o
                 Business Na4
                                                     40)         s                                                                        Do not include Social Security number or IT1N.


                                                                                                                                          EIN:             —L                            7
                 Number    Street
                                                                        Name of accountant oiMookkeeper                                   Dates business existed


                                                                                                                                          From      tO-2)16r0 1 / zo P 2—
                                          State
                                                  4-44-Zip 304
                                                           Sode            e5C              C,      VAde4A             C511/A
                                                                        Describe the nature of the business                                    p.!oyer Identification number
                                                                                                                                           Do not irmlude Social Security number or ITIN.
                 Business Name

                                                                                                                                           EIN:
                 Number    Street
                                                                        Name of accountant or bookkeeper                                   Dates business existed



                                                                                                                                           From                 To
                                           State     ZIP Code       r

 Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                         page 11
       Case 24-55036-jwc                       Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                           Desc Main
                                                                 Document      Page 12 of 50

Debtor 1
                  First Name   Middle dree          Last Name
                                                                                                             Case number (if known) 214 •-   Sa-biL DL4/42.--

                                                                                                                           Employer Identification number
                                                            Describe the nature of the business
                                                                                                                           Do not include Social Security number or ITIN.
             Business Name
                                                                                                                            EIN:

               Number Street                                    Name of accountant or bookkeeper                            Dates business existed



                                                                                                                            From                To
               City                  State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
      institutions, creditors, or other parties.

    4,1Z(No
     D Yes. Fill in the details below.
                                                                Date issued



               Name                                             MM / DD I YYYY


               Number Street




               City                  q*ato       Cod,.




  Part 12:            Sign Below


       I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
       answers are true and correct I understand that making a false statement, concealing property, or obtaining money or property by fraud
       in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
       18 U.S.C. §§ 152, 1341, 1519, and 3571.




           X --Cafkg.0                        itaW idr                           X
             Signature of Debtor I                                                   Signature of Debtor 2


               Date                                                                  Date

           Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      VT -No
           D
          Yes



           Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      1•EfrNo
           D Yes. Name of person                                                                                    . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                      Declaration, and Signature (Official Form 119).




 Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 12
          Case 24-55036-jwc                            Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                                     Desc Main
                                                                       Document      Page 13 of 50

Fill in this information to identify your case and this filing:


Debtor 1        CairAn
                   First Name
                                               (4..1nLith
                                                  Middle Name                        at Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                      Last Name


United States Bankruptcy Court for the:                         District of

Case number           14 ""       5 6— Dal to "*" j LA)                                                                                              lj   Check if this is an
                                                                                                                                                          amended filing


Official Form 106A/B
 Schedule A/B: Property                                                                                                                                              12/15

 In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
 category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
 responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
 write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

    Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

   grN-o. Go to Part 2.
     CI Yes. Where is the property?
                                                                              What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                              U Single-family home                              the amount of any secured claims on Schedule 0:
                                                                                                                                Creditors Who Have Claims Secured by Property.
       1.1.                                                                   LI Duplex or multi-unit building
               Street address, if available, or other description
                                                                              LI Condominium or cooperative                     Current value of the      Current value of the
                                                                              LI Manufautured or mobile home                    entire property?          portion you own?
                                                                              1=1 Land                                          $
                                                                              U lnvestmeni pruperty
                                                                              Li Timeshare                                      Describe the nature of your ownership
               City                            State      ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                              LI Other                                          the entireties, or a life estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                              LI Debtor 1 only
               County                                                         LI Debtor 2 only
                                                                              1:1 Debtor 1 and Debtor 2 only                    LI Check if this is community property
                                                                                                                                    (see instructions)
                                                                              D At least one of the debtors and another
                                                                              Other information you wish to add about this item, such as local
                                                                              property identification number:
      If you own or have more than one, list here:
                                                                          What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put
                                                                          LI Single-family home                                 the amount of any secured claims on Schedule D:
                                                                                                                                Creditors Who Have Claims Secured by Property.
        1.2.                                                              D Duplex or multi- unit building
               Street address, if available, or other description
                                                                          0 Condominium or cooperative                          Current value of the      Current value of the
                                                                          C3 Manufactured or mobile home                        entire property?          portion you own?
                                                                              LI Land
                                                                          O Investment property
                                                                                                                                Describe the nature of your ownership
                City                            State      ZIP Code
                                                                          LI Timeshare                                          interest (such as fee simple, tenancy by
                                                                          L-I Other                                             the entireties, or a life estate), if known.
                                                                          Who has an interest in the property? Check one.
                                                                          LI Debtor 1 only
                County                                                    0 Debtor 2 only
                                                                          ID Debtor 1 and Debtor 2 only                         El Check if this is community property
                                                                              CI At least one of the debtors and another            (see instructions)

                                                                              Other information you wish to add about this item, euch as local
                                                                              property identification number:


   Official Form 106A/B                                                        Schedule A/B: Property                                                             page 1
         Case 24-55036-jwc                           Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                        Desc Main
                                                                      Document      Page 14 of 50
  Debtor 1          c_mwdots4,,(A
                           g
                    First Name
                                      i
                                  S(14,ek
                                   Middle Name             ast Name
                                                                                                             Case number of kr,own)   2 11        5 --5 -0 3 4       "V



                                                                      What is the property? Check all that apply.                Do not deduct secured claims or exemptions. Put
                                                                      1:1 Single-family home                                     the amount of any secured claims on Schedule D:
      1.3.                                                                                                                       Creditors Who Have Claims Secured by Property.
             Street address, if available, or other description       0 Duplex or multi-unit building
                                                                      Li Condominium or cooperative                              Current value of the      Current value of the
                                                                                                                                 entire property?          portion you own?
                                                                      LI Manufactured or mobile home
                                                                      LI Land
                                                                      LI Investment property
                                             State      ZIP Code      0 Timeshare                                                Describe the nature of your ownership
             City
                                                                                                                                 interest (such as fee simple, tenancy by
                                                                      CI Other                                                   the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.
                                                                      LI Debtor 1 only
             County
                                                                       LI Debtor 2 only
                                                                       El Debtor 1 and Debtor 2 only                             LI Check if this is community property
                                                                                                                                      (see instructions)
                                                                       LI At least one of the debtors and another

                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.




 Part 2:       Describe Your Vehicles


               Ii. iea3C;- 0.0       ies.;e:i or equitzb!3 hikerect. in any :10111den, -.Mettler         nrc ;:;d:,-,Alered or not? l", '.!dc.,
.: you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


  3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
     LI No
    OYes
              Make:
                                                                       Who has an interest in the property? Check one.            Do not deduct secured claims or exemptions. Put
      3.1.
                                                                                                                                  the amount of any secured claims on Schedule D:
                                                                      IdDebtor 1 only                                             Creditors Who Have Claims Secured by Properly.
              Model:
                                                                       LI Debtor 2 only
              Year:                                                                                                               Current value of the      Current value of the
                                                                       LI Debtor 1 and Debtor 2 only
                                                                                                                                  entire property?          portion you own?
              Approximate mileage:               ,OH 0 b 2-            0 At least one of the debtors and another
              Other information:
                                                                        LI Check if this is community property (see                                         $
                                                                           instructions)



      If you own or have more than one, describe here:

              Make:
                                                                       Who has an interest in the property? Check one            . Do not deduct secured claims or exemptions. Put
      3.2.
                                                                                                                                   the amount of any secured claims on Schedule D:
              Modoi:
                                                                       LI Debtor 1 only                                            Creditors Who Have Claims Secural by Properly.
                                                                       0 Debtor 2 only
              Year:                                                                                                                Current valuo, of tne    Current value of the
                                                                       LI Debtor 1 and Debtor 2 only                               entire property?         portion you own?
              Approximate mileage:                                      El At least one of the debtors and another
              Other information:
                                                                        1:1 Check if this is community property (see
                                                                           instructions)




   Official Form 106A/B                                                  Schedule NB: Property                                                                       page 2
          Case 24-55036-jwc                   Doc 24          Filed 06/07/24 Entered 06/07/24 15:25:24                                                     Desc Main
                                                             Document      Page 15 of 50
Debtor 1
                  First Name
                                          PleOh
                                Middle Name
                                                  L ti f\
                                                    Last Name
                                                              S       i t: ( 14\                             Case number (if known)     1 Cf   4". 5 '..
                                                                                                                                                       5 ". 0 3         'wZ)       e

           Make:
                                                              Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                    the amount of any secured claims on Schedule D:
                                                              U       Debtor 1 only                                                 Creditors Who Have Claims Secured by Property.
           Model:
                                                              LI Debtor 2 only
           Year:                                                                                                                    Current value of the          Current value of the
                                                              D Debtor 1 and Debtor 2 only
                                                                                                                                    entire property?              portion you own?
           Approximate mileage:                               D At least one of the debtors and another
           Other information:
                                                                  U Check if this is community property (see
                                                                    instructions)


           Make:                                                  Who has an interest in the property? Check one.                   Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                    the amount of any secured claims on Schedule D:
           Model:
                                                                  LI Debtor 1 only                                                  Creditors Who Have Claims Secured by Property.
                                                                  U    Debtor 2 only
           Year:                                                                                                                    Current value of the          Current value of the
                                                                  D Debtor 1 and Debtor 2 only
                                                                                                                                    entire property?              portion you own?
           Approximate mileage:                                   0 At least one of the debtors and another
           Other information:
                                                                  D Check if this is community property (see
                                                                       instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

          No
   D Yes


                                                                  Wh               tofest.ln 1:tio propt:tv 2 (...ii6c!(..     ,•       nnt-ri.kkxt set.ti,ed otkros u, exemptionG 01;
    4.
                                                                                                                                    the amount of any secured claims on Schedule D:
                                                                  LI Debtor 1 only                                                  Creditors Who Have Claims Secured by Properly.
           Model:
                                                                  U    Debtor 2 only
           Year:
                                                                  U    Debtor 1 and Debtor 2 only                                   Current value of the          Current value of the
           Other information:                                     CI At least one of the debtors and another                        entire property?              portion you own?


                                                                  U Check if this is community property (see
                                                                    instructions)



   If you own or have more than one, list here:

               Make:                                              Who has an interest in the property? Check one.                    Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                                     the amount of any secured claims on Schedule D:
                                                                  LI Debtor 1 only                                                   Creditors Who Have Claims Secured by Property.
               Model:
                                                                  LI Debtor 2 only
               Year:                                                                                                                 Current value of the             Current value of the
                                                                  CI Debtor 1 and Debtor 2 only
                                                                                                                                     entire property?                 portion you own?
               Other information:                                 LI At least one of the debtors and another

                                                                  LI Check if this is community property (see
                                                                       instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
   you have attached for Part 2. Write that number here
                                                                                                                                                                  $      0   .0 0



 Official Form 106A/B                                                 Schedule NB: Property                                                                                    page 3
         Case 24-55036-jwc                  Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                              Desc Main
                                                            Document      Page 16 of 50
                             Middle Name
                                           t6 r% SteK 614.
                                                Last Name
                                                                                                Case number Of known)   DI - 5-50 3

              scribe Your Personal and Household Hems

                                                                                                                                Current value of the
        own or have any legal or equitable interest in any of the following items?
                                                                                                                                portion you own?
                                                                                                                                Do not deduct secured claims
                                                                                                                                or exemptions.
6. Household goods and furnishings
   Ex    ples: Major appliances, furniture, linens, china, kitchenware
        No
   Li   Yes. Describe


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
        No
   D Yes. Describe

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
  OnTo
   El Yes. Describe
9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
 1.2(No
  U Yes Describe


1.1-tiearms
  B inples: Pistols, rifles, shotguns, ammunition, and related equipment
 freNo
        Yes. Describe

11.Clothes
  :ymples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
 1 No
   Li Yes. Describe



12.Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
 t,E(No
   Li Yes. Describe

13.Non-farm animals
   Examples: Dogs, cats, birds, horses

        No
   D Yes. Describe
14.Any9her personal and household items you did not already list, including any health aids you did not list

        No
        Yes. Give specific
        information.

16. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here                                                                                      4

 Official Form 106A/B                                        Schedule A/B: Property                                                           page 4
        Case 24-55036-jwc                        Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                         Desc Main
                                                                   Document      Page 17 of 50
Debtor 1
                 First Name
                              tVMiddlekt5kti
                                      Name
                                            ,„ Last Name                                      Case number it known)   21   4        o         --u

Part 4:        Describe Your Financial Assets


Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured claims
                                                                                                                                   or exemptions.


16.Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     D No
 0    4 1'es                                                                                                  Cash:                 $                o6

17.Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.

 vErvo
  D Yes                                                              Institution name:


                                 17.1. Checking account:

                                 17.2. Checking account:

                                 17.3. Savings account:

                                  17.4. Savings account:

                                  17.5. Certificates of deposit:

                                  17.6. Other           occoi int-
                                            ,                  _
                                  17.7. Other financial account

                                  17.8. Other financial account:

                                  17.9. Other financial account:




18.Bonds, mutual funds, or publicly traded stocks
   Examfiles: Bond funds, investment accounts with brokerage firms, money market accounts
     CJ No
     Li Yes                       Institution or issuer name:




 19.Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture

  pra'sNo                         Name of entity'                                                             % of ownership:
     1:1 Yes. Give specific                                                                                    0%
         information about
         them                                                                                                  0%
                                                                                                               0%




  Official Form 106A/B                                               Schedule A/B: Property                                                      page 5
        Case 24-55036-jwc                       Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                        Desc Main
                                                                  Document      Page 18 of 50
 Debtor 1
                C l.rolutik 12-e_51,\Ltir,
                Firs   a'rne   Middle Name            Last Name
                                                                                                 Case number orknown)               o 'gt,

 20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

        No
    IJ Yes. Give specific      Issuer name:
        information about
        them




 21. Retirement or pension accounts
     Exam les: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

        No
        Yes. List each
        account separately. Type of account:             Institution name:

                               401(k) or similar plan:

                                Pension plan:

                                IRA:

                                Retirement account:

                                Keogh:

                                Additional account

                                Additional acn;•



• 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
      companies, or others

   1,21<-0
    D Yes                                            Institution name or individual:
                                Electric:

                                Gas:

                                Heating oil:

                                Security deposit on rental unit

                                Prepaid rent

                                Telephone:

                                Water

                                Rented furniture:

                                Other



  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)



     U Yes                       Issuer name and description:




   Official Form 106A/B                                             Schedule A/B: Property                                                   page 6
          Case 24-55036-jwc                       Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                                   Desc Main
                                                                  Document      Page 19 of 50
  Debtor 'I
                 First Name
                                 ev k
                                Miordle Name12
                                                 (,,SIAtkn
                                                      Last Name
                                                                   50,ti ‘44,_                       Case number (if known)       - 53-03tv -

- 24 Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U. .C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          No
     lj   Yes                            Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exerç4sable for your benefit

          No
     D Yes. Give specific
          information about them....


  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   1,12(No
     D Yes. Give specific
          information about them....;


  27. Licenses, franchises, and other general intangibles
      Exa ples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

     LI No
     1:1 Yes. Give specific
         i5;ornicition abotit them....


  Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                              portion you own?
                                                                                                                                              Do not deduct secured
                                                                                                                                              claims or exemptions.

  28. Tax refunds owed to you
   14(No
      D Yes. Give specific information                                                                                 Federal:
                about them, including whether
                you already filed the returns                                                                          State:
                and the tax years.
                                                                                                                       Local:



  29.Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
    Lerlo
      0 Yes. Give specific information
                                                                                                                      Alimony:
                                                                                                                      Maintenance:
                                                                                                                      Support:
                                                                                                                      Divorce settlement
                                                                                                                    I. Property settlement:

   21.Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                Social Security benefits; unpaid loans you made to someone else
    1,6 --/
         No
      D Yes. Glyn !specific information


   Official Form 106A/B                                             Schedule A/B: Property                                                              page 7
        Case 24-55036-jwc                       Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                                        Desc Main
                                                                    Document      Page 20 of 50
Debtor 1      C        ar+VAA
                FiriThame       Middle Name
                                              e -4 5k
                                                        LastAitiA
                                                             Name
                                                                       S   tA14                         Case number (if knowratt '" 5   -5 —         36 -3

31. Interests in insurance policies
   Exam      s: Health, disability, or life insurance; health savings account (NSA); credit, homeowner's, or renter's insurance
       No
       Yes. Name the insurance company           Company name:                                             Beneficiary:                              Surrender or refund value:
            of each policy and list its value...




32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   prop rty because someone has died.
        No
   D Yes. Give specific information

33.Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
  pErNo
    D Yes. Describe each claim


34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
        No
    U Yes. Describe each claim.




35.Any Nnancial assets you did not already 1161


    LI Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                    4           s0i0 0


Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate inPart 1.

37. Do you own or have any legal or equitable interest in any business-related property?

        4o. Go to Part 6.
  1,12(7*-
    LI Yes. Go to line 38.
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                    or exemptions.

 36. Accounts recelwfule ur commissions you air2ady earned

  vEr:lo
    LI Yes. Describe

 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices



         Yes. Describe




  Official Form 106A/B                                                Schedule A/B: Property                                                                      page 8
       Case 24-55036-jwc                              Doc 24          Filed 06/07/24 Entered 06/07/24 15:25:24                    Desc Main
                                                                     Document      Page 21 of 50
Debtor 1
                 CFirs   ame
                               41 I v
                                        Middle Name
                                                       SkAAin
                                                         Last Name
                                                                        (   ti‘:6 L We          Case number (ifknowo)V1 --S .-5   0 g6

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 v ell;
   Li Yes. Describe



41. Inventory
  kErlo
   D Yes. Describe



42. Interests in partnerships or joint ventures
       No
   LI Yes. Describe                 Name of entity:                                                            % of ownership:




43.Cuj.Dmer lists, mailing lists, or other compilations
       No
   Li Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                 LI No
                 LI Yes. Describe



44.Any usiness-related property you did not already list
          f\i‘
   Li v:.-• r4ive
       information




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
    for Part 5. Write that number here
                                                                                                                                  so, c P

Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


       o y.ou own or have any legal or equitable interest in any farm- or commercial fishing-related property?
461:f r No. Go to Part 7.
    LI Yes. Go to line 47.

                                                                                                                                  Current value of the
                                                                                                                                  portion you own?
                                                                                                                                  Do not deduct secured claims
                                                                                                                                  or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
          No
    LI Yes




 Official Form 106A/B                                                  Schedule A/B: Property                                                  page 9
        Case 24-55036-jwc                         Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                      Desc Main
                                                                  Document      Page 22 of 50
  Debtor 1
                First Name       iddle Name
                                              t   Sh(AK
                                                      Last Name
                                                                   [5 144                     Case number (if known)      55
                                                                                                                           -03

- 48. Crops—either growing or harvested
        No
     0 Yes. Give specific
        information.

 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
   t<r17Io
     lj Yes



  so. Farm and fishing supplies, chemicals, and feed
   i..12(No
      U Yes

  51.Any f rm- and commercial fishing-related property you did not already list
        No
     LI Yes. Give specific
        information

  52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here
                                                                                                                                 $     0 b0

  Part 7:     Describe All Property You Own or Have an Interest in That You Did Not List Above

  53.Do you have other property of any kind you did not already ;1st?
               r- oaaon        cotintr: cluh memt—, rshin



     CI Yes. Give specific 1
         information




  54.Add the dollar value of all of your entries from Part 7. Write that number here



  Part 8:     List the Totals of Each Part of this Form

  55.Part 1: Total real estate, line 2

  56.Part 2: Total vehicles, line 5                                             $    0, 0 0
  57.Part 3: Total personal and household items, line 15                            0'0

  58.Part 4: Total financial assets, line 36

  so. Part 5: Total business-related property, line 45

  60.Part 6: Total farm- and fishing-related property, line 52

  61.Part 7: Total other property not listed, line 54                           $   0 'D 0
  62.Total personal property. Add lines 56 through 61.                          $ 00v            Copy personal property total 41-1-$



  63.Total of all property on Schedule AM. Add line 55 + line 62



   Official Form 106A/B                                            Schedule A/B: Property                                                page 10
       Case 24-55036-jwc                    Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                    Desc Main
                                                              Document      Page 23 of 50

 Fill in this information to identify your case:

 Debtor 1
                    First Name
                                  rmnr,    g-A-SKAA
                                            Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing) First Name             Middle Name                    Last Name


 United States Bankruptcy Court for the:                  District of

 Case number
  (If known)
                              - 5- 5-o             juctt                                                                                    LI Check if this is an
                                                                                                                                               amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are yoit claiming? Check one only, even if your spouse is filing with you.
                U ore claiming state and federal nonoankruptcy exemptions. II          U.S.C. § 522(b)(3)
   4104°
                  d._                            - I      U.3.;:.s.-2§-5223-)(2)


 2. For any property you list on Schedule NB that you claim as exempt, fill in the information below.


        Brief description of the property and line on         Current value of the       Amount of the exemption you claim       Specific laws that allow exemption
        Schedule NB that lists this property                  portion you own
                                                              Copy the value from       Check only one box for each exemption.
                                                              Schedule A/B

       Brief
       description:                                                                         $

       Line from
                                                                                         0 100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit


       Brief
       description:                                                                         $

       Line from
                                                                                         0 100% of fair market value, up to
       Schedule A/B:                                                                        any applicable statutory limit

       Brief
       description:                                                                          $

        .in Frrsn ,                                                                      0 100% of fair market value, up to
       Schedule A/B'                                                                         any applicable statutory limit


  3. Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

    te'Er No
       0 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                    No
               0 Yes

 Official Form 106C                                           Schedule C: The Property You Claim as Exempt                                            page 1 of
           Case 24-55036-jwc                              Doc 24        Filed 06/07/24 Entered 06/07/24 15:25:24                                          Desc Main
                                                                       Document      Page 24 of 50
Debtor 1         CAtcflux,
                   First Name           Middle Name -
                                                        $ 1'W/       6
                                                             A Last Name
                                                                         1A4                                     Case number (if known)   21       51.5o 3 1„,

 Part 2:         Additional Page

       Brief description of the property and line                     Current value of the   Amount of the exemption you claim                 Specific laws that allow exemption
       on Schedule NB that lists this property                        portion you own
                                                                      Copy the value from    Check only one box for each exemption
                                                                      Schedule NB

     Brief
     description:                                                                            Us
     Line from
                                                                                             0 100% of fair market value, up to
     Schedule A/B•.                                                                                   any applicable statutory limit

     Brief
     description:                                                                                     $
                                                                                             •        100% of fair market value, up to
      Line from
                                                                                                      any applicable statutory limit
      Schedule A/B:

      Brief
      description:                                                                                    $
                                                                                                      100% of fair market value, up to
      Line from
      Schedule NB:                                                                                    any applicable statutory limit


      Brief
      description:                                                                           Us
                                                                                              O 100% of fair market value, up to
      Line from
                                                                                                any applicable statutory limit
      Schedule A/B:
      Brief
      description:                                                                                    $
                                                                                              •       100% of fair market value, up to
      Line from
      Scheduk, 4/13:                                                                                  any applicable statutory limit


      Dildf                                   !I,


      description:                                                                                L.J $
                                                                                              •       100% of fair market value, up to
      Line from
                                                                                                      any applicable statutory limit
      Schedule A/B:
      •-        ••• -•..... •^•••• ••

      Brief
      description:                                                                                    $
                                                                                                 O 100% of fair market value, up to
       Line from
       Schedule A/B:                                                                               any applicable statutory limit

       Brief
       description:                                                                                   $
                                                                                                 O 100% of fair market value, up to
       Line from
       Schedule NB:                                                                                any applicable statutory limit


       Brief
       description:                                                                                   $
                                                                                                 Li 100% of fair market value, up to
       Line from
       Schedule A/B:                                                                                any applicable statutory limit


       Brief
       description:                                                                                   $
                                                                                                  O 100% of fair market value, up to
       Line from
       Schedur, 1/B .                                                                               any applicable stati,ory limit

       Bret
       description:                                                                                   $
                                                                                                  •   100% of fair market value, up to
       Line from
       Schedule A/B:                                                                                  any applicable statutory limit


           Brief
           description:                                                                                $

           Line trom
                                                                                                  Li 100% of fair markPl value up to
           schedule 1..B:                                                                              any applicable statutory limit



 Official Form 106C                                                   Schedule C: The Property You Claim as Exempt                                               page 2    of
           Case 24-55036-jwc                          Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                             Desc Main
                                                                      Document      Page 25 of 50

             is information to identify your case:

 ,ebtor 1
                                                Middle Name                    Last Name

Debtor 2
(Spouse, if filing) First Name                  Middle Name                    Last Name


United States Bankruptcy Court for the:                       District of

Case number
 (Ifknown)           Itit        5-513                        11-J (-
                                                        LI                                                                                 U Check if this is an
                                                                                                                                             amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

               creditors have claims secured by your property?
         No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
1)21-17es. Fill in all of the information below.


Part 1:        List All Secured Claims
                                                                                                                         Column A   'Column B             Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim             Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the          that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collateral.       claim                 If any

                                                          Describe the property that secures the claim:



                                                                      eak       —_                        -
                                                        As of the date you file, the claim is: Check all that apply.
                     Itt4                  2,1)   . 242.,E1 Contingent
      C 147                                               3
      y;                          Slate   ZIP Code              Disputed

  Who owes the debt? Check one.                           Nature of lien. Check all that apply.
tja .-"Debtor 1 only                                   yerAn agreement you made (such as mortgage or secured
  •     Debtor 2 only                                      car loan)
  O     Debtor 1 and Debtor 2 only                        D Statutory lien (such as tax lien, mechanic's lien)
  O     At least one of the debtors and another           O     Judgment lien from a lawsuit
                                                          O     Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred                                  Last 4 digits of account number
                                                                                         _
                                                          Describe the property that secures the claim:
      Creditor's Name


      Number            Street
                                                          As of the date you file, the claim is: Check all that apply.
                                                          O     Contingent
                                                          •     Unliquidated
  • cit;                           State - ZIP Code       O     Disputed

  Who owes the debt? :;iteck Jne.                         Nature of lien. Ch., * all that apply.
  O     Debtor 1 only                                     O     An agreement you made (such as mortgage or secured
  O     Debtor 2 only                                           car loan)
  O     Debtor 1 and Debtor 2 only                        •      Statutory lien (such as tax lien, mechanic's lien)
  O     At least one of the debtors and another           O      Judgment lien from a lawsuit
                                                          El Other (including a right to offset)
  O Check if this claim relates to a
        ,..r.,nrpti,.:ty (IAN.
  Date debt was incurred                                  Last 4 digits of account number
      Add the dollar value of your entries in Column A on this page. Write that number here:


 Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                     page 1 of
               Case 24-55036-jwc                  Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                      Desc Main
                                                                     Document      Page 26 of 50

 Debtor 1              C.-aw
                     First Name   Middle Name                  ame
                                                                                                           Case number (irkr,ovm)   2.51 — 5 -5 .0 3jilt


                                                                                                                      Column A               Column B              Column C
                 Additional Page
                                                                                                                      Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                            that supports this    portion
                                                                                                                      Do not deduct the
                 by 2.4, and so forth.                                                                                value of collateral.   claim                 If any

                                                       Describe the property that secures the claim:
      Creditor's Name

      Number            Street

                                                       As of the date you file, the claim is: Check all that apply.
                                                       CI Contingent
       City                        State   ZIP Code    Li Unliquidated
                                                       O Disputed
  Who owes the debt? Check one.                        Nature of lien. Check all that apply.
   O Debtor 1 only                                     LI An agreement you made (such as mortgage or secured
   O Debtor 2 only                                        car loan)
   LI Debtor 1 and Debtor 2 only                       O Statutory lien (such as tax lien, mechanic's lien).
   O At least one of the debtors and another           Li Judgment lien from a lawsuit
                                                       LI Other (including a right to offset)
   CI Check if this claim relates to a
      community debt

   Date debt was incurred                              Last 4 digits of account number


E:1                                                    Describe the property that secures the claim:
       Creditor's Name

       Number            Street
                                                       As of the date you file, the claim is: Check all that apply.
                                                       LI Contingent
                                                       •        hliquidatdu
       rt; ,                       State   7ip

   Who owes the debt? Check one.
                                                       Nature of lien. Check all that apply.
   O Debtor 1 only
                                                       LI An agreement you made (such as mortgage or secured
   LI Debtor 2 only                                       car loan)
   LI Debtor 1 and Debtor 2 only                       LI Statutory lien (such as tax lien, mechanic's lien)
   LI At least one of the debtors and another          CI Judgment lien from a lawsuit
                                                       O Other (including a right to offset)
   LI Check if this claim relates to a
           community debt

   Date debt was incurred                              Last 4 digits of account number


                                                       Describe the property that secures the claim:
       Creditor's Name

       Number            Street

                                                       As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
        City                       State    ZIP Code       LI Unliquidated
                                                        O Disputed
      Who owes the debt? Check one.                    Nature of lien. Check all that apply.
      Li Debtor I only                                  rj Air ayrcomeill you incizt (such as mortgage or secured
      D Debtor 2 only                                      car loan)
      LI Debtor 1 and Debtor 2 only                     O Statutory lien (such as tax lien, mechanic's lien)
      O At least one of the debtors and another            •   Judgment lien from a lawsuit
                                                           O Other (including a right to offset)
      O Check if this claim relates to a
        community debt

      Date debt was incurred                               Last 4 digits of account number

                Add the dollar value of your entries in Column A on this page. Write that number here:

                If this is the last page of your form, add the dollar value totals from all pages.
                Write that number here:

  Official Form 106D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page      of
           Case 24-55036-jwc                         Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                         Desc Main
                                                                        Document      Page 27 of 50

Debtor 1          CVFirst Name
                                    MIA"        PjSkt41(\
                                      Middle Name           Last Name
                                                                        ,s41,                     Case number (if known)        -   ' ,j Sb 3        —( j . LAI
 Part 2:            List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                             On which line in Part 1 did you enter the creditor?

      Name                                                                                   Last 4 digits of account number


      Number              Street




      City                                                     State         ZIP Code

                                                                                              On which line in Part 1 did you enter the creditor?

       Name                                                                                   Last 4 digits of account number
                                                                                                                                —     —   —   —


       Number             Street




       City                                                    State         ZIP Code

                                                                                              On which line in Part 1 did you enter the creditor?

       Name                                                                                   Last 4 digits of account number


       Niimher            Street




       City                                                     State         ZIP Code

                                                                                              On which line in Part 1 did you enter the creditor?

       Name                                                                                   Last 4 digits of account number


       Number              Street




       City                                                     State         ZIP Code

                                                                                              On which line in Part 1 did you enter the creditor?

       Name                                                                                   Last 4 digits of account number


       Number              Street




           City                                                 State         ZIP Code

                                                                                              On which line in Part 1 did you ente.i the creditor?

           Name                                                                               Last 4 digits of account number


           Number          Street




           City                                                  State        ZIP Code



 Official Form 106D                                  Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                          page     of
         Case 24-55036-jwc                      Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                         Desc Main
                                                                 Document      Page 28 of 50
  Fill in this information to identify your case:

  Debtor 1          C_Adif                            kkAift
                    Fest Name                  Lame                           Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name                    Last Name


  United States Bankruptcy Court for the:                     District of
                                                                                                                                                   LI Check if this is an
  Case number
   (If known)
                      ILt - 5-5b3(e                                                                                                                    amended filing


 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:         List All of Your PRIORITY Unsecured Claims

I1. Dopey creditors have priority unsecured claims against you?
           No. Go to Part 2.
     LI Yes.
 2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
    each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
    nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
    unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total claim   Priority        Nonpriority
                                                                                                                                                   amount          amount

                                                                     Last 4 dinits               number

                                                                      When was the debt incurred?
         Number           Street

                                                                      As of the date you file, the claim is: Check all that apply.
                                                                      O Contingent
         City                          State     ZIP Code
                                                                      Li Unliquidated
         Who incurred the debt? Check one.                            O Disputed
         O Debtor 1 only
         Li Debtor 2 only                                             Type of PRIORITY unsecured claim:
         Li Debtor 1 and Debtor 2 only                                O Domestic support obligations
         Li At least one of the debtors and another
                                                                      O Taxes and certain other debts you owe the government
         O Check if this claim is for a community debt                Li Claims for death or personal injury while you were
         Is the claim subject to offset?                                 intoxicated
         Li No                                                        O Other. Specify
         O Yes
12.2 I                                                                Last 4 digits of account number                                $
         Priority Creditor's Name
                                                                      When was the debt incurred?
         Number           Street
                                                                      As of the date you file, the claim is: Check all that apply.
                                                                      O Contingent
         City                          State     ZIP Code             • Unliquidated
         Who incurred the debt? Check one.                            Li Disputed
         0 Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
         OI Debtor 2 only
                                                                      El Domestic support obligations
         Li Debtor 1 and Debtor 2 only
                                                                      CI Taxes and certain other debts you owe the government
         0 At least one of the debtors and another
                                                                      O Claims for death or personal injury while you were
         O Check if this claim is for a community debt                  intoxicated
         Is de Llaim subject tu uffset?                                        Spocify
         • t•lo
         0 Yes

  Official Form 106E/F                                       Schedule EJF: Creditors Who Have Unsecured Claims                                                page 1 of
            Case 24-55036-jwc                          Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                                           Desc Main
                                                                         Document      Page 29 of 50
Debtor 1                Ca(r
                      First Name
                                      /N6A
                                       Middle Name           Last Name
                                                                                                                     Case number (if known)   lr' 41        so 3 lc,
 Part 1:              Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                                       Total claim   Priority   Nonpriority
                                                                                                                                                            amount     amount


11111                                                                     Last 4 digits of account number
        Pnonty Creditors Name

                                                                          When was the debt incurred?
        Number             Street

                                                                          As of the date you file, the claim is: Check all that apply.

                                                                          Li Contingent
        City                                   State   ZIP Code           Li      Unliquidated
                                                                          Li Disputed
        Who incurred the debt? Check one.
        U Debtor 1 only                                                   Type of PRIORITY unsecured claim:
        O Debtor 2 only
                                                                          O Domestic support obligations
        Li Debtor 1 and Debtor 2 only
                                                                          CI Taxes and certain other debts you owe the government
        0 At least one of the debtors and another
                                                                          CI Claims for death or personal injury while you were
                                                                            intoxicated
        O Check if this claimis for a community debt
                                                                          O Other. Specify
        Is the claim subject to offset?
        O No
        Li Yes


                                                                          Last 4 digits of account number
        Priority Creditors Name

                                                                          When was the debt incurred?
        Number              Street

                                                                          As of the date you file, the claim is: Check all that apply.

                                                                          •       Conthigent
                                           ,   State   "IP rririn         El. UnliquidatpH
                                                                          Li Disputed
        Who incurred the debt? Check one.
        Li Debtor 1 only                                                  Type of PRIORITY unsecured claim:
        •       Debtor 2 only
                                                                          CI Domestic support obligations
        U Debtor 1 and Debtor 2 only
                                                                          Li Taxes and certain other debts you owe the government
        IJ At least one of the debtors and another
                                                                          O Claims for death or personal injury while you were
                                                                            intoxicated
        O Check if this claim is for a community debt '
                                                                          O Other. Specify
        Is the claim subject to offset?
        O No
                Yes


                                                                          Last 4 digits of account number
        Priority Creditors Name

                                                                          When was the debt incurred?
         Number              Street

                                                                          As of the date you file, the claim is: Check all that apply.

                                                                           O Contingent
         City                                  State   ZIP Code           Li      Unliquidated
                                                                           O Disputed
         Who inr+irrf4d the debt? Check one.
         D Debtor 1 only                                                  Type of PRIORM! unsecured claim:
         CI Debtor 2 only                                                 LI Domestic support obligations
         1:1 Debtor 1 and Debtor 2 only
                                                                           Li Taxes and certain other debts you owe the government
         0 At least one of the debtors and another
                                                                              0   Claims for death or personal injury while you were
                                                                                  intoxicated
         D Check if this claim is for a community debt
                                                                              •   Other. Specify
         Is the claim subj;ct to offset?
            O No
            O Yes


Official Form 106E/F                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                    page     of
        Case 24-55036-jwc                          Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                      Desc Main
                                                                    Document      Page 30 of 50
Debtor 1              Carvb‘40.\
                     First Name      Middle Name       Last Neere
                                                                                                         Case number (if known)      2 ,4 (   $-5-0 3 tt7            141


Part 2:          List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
         No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      Ul Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim


                       S\I iA4:h' 5/1?—
       Nonpriority Creditors Name
                                                                                   Last 4 digits of account number
                                                                                                                                                        $15191)2 o
                                                                                                                            74
       Number
                   eqa 300 t 0
                Street
                                                                                   When was the debt incurred?




       City
            GreA:ovi        ji)( State                              ZIP Code       As of the date you file, the claim is: Check all that apply.

                                                                                   O    Contingent
       Who incurred the debt? Check one.                                           LI Unliquidated
      VErDebtor 1 only                                                             O    Disputed
        D Debtor 2 only
        CI Debtor 1 and Debtor 2 only                                              Type of NONPRIORITY unsecured claim:
        CI At least one of the debtors and another                                1,,2r5tudent loans

        O Check if this claim is for a community debt
                                                                                   CI Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
        Is the claim subject to offset?                                            U    Debts to pension or profit-sharing plans, and other similar debts
      vifr No                                                                      O    Other. Specify
        C3 Yes

4.2                                                                                Last 4 digits of account number
        Ivcouriority UreU2, i4arm                                                  Whoa was the d.:-1;11currcri?


        Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        City                                          State          ZIP Code
                                                                                    O   Contingent

        Who incurred the debt? Check one.                                           Li Unliquidated
        CI Debtor 1 only                                                            CI Disputed
        O Debtor 2 only
                                                                                    Type of NONPRIORITY unsecured claim:
        CI Debtor 1 and Debtor 2 only
        1:1 At least one of the debtors and another                                 O   Student loans
                                                                                    CI Obligations arising out of a separation agreement or divorce
        U Check if this claim is for a community debt                                   that you did not report as priority claims
                                                                                    U   Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?
                No
                                                                                    D Other. Specify
        Li Yes
4.3
                                                                                    Last 4 digits of account number
        Nonpnonty Creditor s Name
                                                                                    When was the debt incurred?

        Number              Street

                                                                                    As of the date you file, the claim is: Check all that apply.
         City                                         Slate          ZIP Code
                                                                                    CI Contingent
         Who incurred the debt? Check one.
                                                                                    LI Unliquidated
         1:1 Debtor 1 only                                                          U   Disputed
         U Debtor 2 only
         O Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
         0 At least one of the debtors and another
                                                                                    CI Student loans
         CI Check if this claim is for a community debt                             U  Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
         Is the claim subject to offset?
                                                                                    Li Debts to pension or profit-sharing plans, and other similar debts
         LI No                                                                      U    Other. Specify
         O Yes




 Official Form 106E/F                                         Schedule EJF: Creditors Who Have Unsecured Claims                                                    page ___ of
          Case 24-55036-jwc                       Doc 24         Filed 06/07/24 Entered 06/07/24 15:25:24                                        Desc Main
                                                                Document      Page 31 of 50
                                                                                                                                                               bsi
Debtor 1
                         C fartiNaA
                   First Name   Middle Name         gatame
                                                                                                             Case number (if known)



Part 2:        Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                        Total claim



                                                                                   Last 4 digits of account number
     Nonpriority Creditors Name
                                                                                   When was the debt incurred?

     Number              Street
                                                                                   As of the date you file, the claim is: Check all that apply.

     City                                     '    State         ZIP Code           0         Contingent
                                                                                    •         Unliquidated
     Who incurred the debt? Check one.                                              O Disputed
     1:1 Debtor 1 only
      O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
      O Debtor 1 and Debtor 2 only                                                  O Student loans
        At least one of the debtors and another                                     O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               O Other. Specify
             No
      L7 Yes



                                                                                    Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                    When was the debt incurred?

      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.

      City                                         Slate '       ZiP Code           13 Contingent

      Who incurred the debt? Check one.                                                 O Disputed
      •      Debtor 1 only
      Li Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
      •      Debtor 1 and Debtor 2 only                                                 •      Student loans
      0 At least one of the debtors and another                                         • Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   DI Other. Specify
      O No           "
      0      Yes



                                                                                        Last 4 digits of account number
      Nonpriority Creditor's Name
                                                                                        When was the debt incurred?

      Number              Street
                                                                                        As of the date you file, the claim is: Check all that apply.

      City                                          State         ZIP Code              0      Contingent
                                                                                        •      Unliquidated
      Who incurred the debt? Check one.                                                 O Disputed
       O Debtor 1 only
      El Debtor 2 only                                                                  Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only                                                  O Student loans
      D At least one of the debtors and another                                         O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
      U Check if this claim is for a community debt
                                                                                        O Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                       O Other. Specify
          LINo
          U Yee




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                 page     of
       Case 24-55036-jwc                   Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                                                  Desc Main
                                                               Document      Page 32 of 50
Debtor 1
                C   air
                     e       Middle Name           Last Name
                                                                56144.                                           Case number (if known)       2,61-               6

Part 3:       List Others to Be Notified About a Debt That You Already Listed

s. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
   example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
   2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

                                                                                 Line                   of (Check one): 0      Part 1: Creditors with Priority Unsecured Claims
     Number        Street                                                                                               0 Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                 Last 4 digits of account number

      City                                 State               ZIP Code
                                                                                                                                                              -----

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                 Line                   of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
      Number       Street                                                                                                •     Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number —                        —   —    —
      City                                 State               ZIP Code
                                                                           or,             Nart059.41



                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                 Line                   of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number       Street                                                                                                O Part 2: Creditors with Nonpriority Unsecured
                                                                                 Claims

                                                                                 Last 4 digits of account number
                                           State               ZIP Code

                                                                                 On which entry in Part 1 or Part 2 did you list the original creditor?
     --Name


                                                                                 Line                   of (Check one): Ci Part 1: Creditors with Priority Unsecured Claims
      Number       Street                                                                                                 CI Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number
      City                                 State               ZIP Code


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                                  Line                  of (Check one): D Part 1: Creditors with Priority Unsecured Claims
       Number       Street                                                                                                   O Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims

                                                                                  Last 4 digits of account number
       City                                State               ZIP Code                                                           —       —    —   —

                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                  Line                  of (Check one): 0       Part 1: Creditors with Priority Unsecured Claims
       Number       Street                                                                                                   O Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims


       City                                 State               ZIP Code
                                                                                  Last 4 digits of account number
                                                                                                                                 -    _


                                                                                  On which entry in Part 1 or Part 2 did you list the original creditor?
       Name

                                                                                  Line                  of (Check one): 0 Part 1: Creditors with Priority Unsecured Claims
       Number       Street
                                                                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                                  Claims


       City                                 State               ZIP Code
                                                                                  Last 4 digits of account number



Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                                page ___ of
      Case 24-55036-jwc                      Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                    Desc Main
                                                              Document      Page 33 of 50
Debtor 1
               First Nameki   tt   Narne a
                                               rlIA4kr
                                                  Last Name
                                                              SMA   11/                     Case number Rknowro   _sy
Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
   Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                 6a. Domestic support obligations                                6a.
Total claims
from Part 1
                 6b. Taxes and certain other debts you owe the
                     government                                                  6b.

                 6c. Claims for death or personal injury while you were
                     intoxicated                                                 6c.

                 6d. Other. Add all other priority unsecured claims.
                     Write that amount here.                                     6d. +$




                 6e. Total. Add lines 6a through 6d.                             6e.




                                                                                       Total claim


                 6f. Student loans                                               6f.
 Total claims
 from Part 2
                 6g. Obligations arising out of a separation agreement
                       divorce that ynu did not rnport as priority
                                                                                 Pr,

                 6h. Debts to pension or profit-sharing plans, and other
                     similar debts                                               6h.


                 6i. Other. Add all other nonpriority unsecured claims.
                     Write that amount here.                                     6i.



                  6j. Total. Add lines 6f through 6i.                            6j.
                                                                                           16 9




 Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                              page   of
         Case 24-55036-jwc                        Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                       Desc Main
                                                                      Document      Page 34 of 50

 Fill in this information to identify your case:


 Debtor
                       First Name
                                    ( mei"                5114./
                                                 Middle Name                 Last Name

 Debtor 2
 (Spouse If filing)    First Name                Middle Name                 Last Name


 United States Bankruptcy Court for the:                       District of

 Case number           21 - 550                                        Q .                                                            Li Check if this is an
 (If known)
                                                                                                                                         amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
        IJ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
   t;CeYes. Fill in all of the information below even if the contracts or leases are listed on Schedule NB: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



        Person or company with whom you have the contract or lease                            State what the contract or lease is for



                 LeiV p h5b
        Name

        tr:bir
                (11'   1
                            Street
                                     S /Ai €40- yo                t

                 tp‘                                      t6.
          i                                   State     ZIP Code

2.2
        Name

        Number             Street

        City                                  State     ZIP Code
 2.3
        Name

        Number             Street

        City                                  State      ZIP Code
 2.4.
         Name

         Number            Street

         City                                 State      ZIP Code                .....
 2.5
         Name

                            Ctrcct

         City                                 State      ZIP Code


 Official Form 106G                                   Schedule G: Executory Contracts and Unexpired Leases                                  page 1 of
         Case 24-55036-jwc                                         Doc 24               Filed 06/07/24 Entered 06/07/24 15:25:24                                          Desc Main
                                                                                       Document      Page 35 of 50

Debtor 1                                                                                                                      Case number (if known)
                      First Name                 Middle Name               Last Name




                  Additional Page if You Have More Contracts or Leases

        Person or company with whom you have the contract or lease                                                 What the contract or lease is for



        Name


        Number                         Street


        City                                                   State      ZIP Code

12.
        Name


        Number                         Street


        City                                                   State      ZIP Code
                                                                                         •              •- •   ••-•.• ••,,,         •-•




124
        Name


        Number                         Street


        City                                                   State      ZIP Code

 2. j
        Name


        Number                         Street
                                                                                                                                                                     .•                     •


                                                               State      ZIP Code




         Number                        Street


         City                                                  State      ZIP Code




         Name

         Number                        Street


         City                                                  State       ZIP Code

 2.
         Name

         Number                        Street


         City                                                  State       ZIP Code
                •:•-••••,..••::•••••                                                                                                                                       .t•.•••




         Name


         Number                         Street


         City                                                   State      ZIP Code
                                                                                                                                                       .f.1,•••=••




Official Form 106G                                                      Schedule G: Executory Contracts and Unexpired Leases                                                         page       of
        Case 24-55036-jwc                                    Doc 24                Filed 06/07/24 Entered 06/07/24 15:25:24                                Desc Main
                                                                                  Document      Page 36 of 50

 Fill in this information to identify your case:

 Debtor 1
                      First Name                            Middle Name                   Last Name

 Debtor 2
 (Spouse, if thing) First Name                              Middle Name                   Last Name


 United States Bankruptcy Court for the:                                  District of

 Case number
 (If known)
                       2,4 - 5-5o36
                                                                                                                                                           L:1 Check if this is an
                                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do y ou have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
 ird        No
       O Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
   vjCillo. Go to line 3.
       O Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
            •     No
            O Yes. In which community state or territory did you live?                                             . Fill in the name and current address of that person.



                 .•-Nan-.r,        !r•-,1.1:-E,, former spouse, or


                   Number               Street



                   City                                                   State                       ZIP Code


  3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
        shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Makesure you have listed the creditor on
        Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
        Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                                           Check all schedules that apply:

 3.1
                                                                                                                                Schedule D, line
          Name
                                                                                                                            0 Schedule E/F, line
          Number              Street                                                                                            Schedule G, line

          City                                                                State                     ZIP Code

 3.2
                                                                                                                                Schedule D, line
          klame
                                                                                                                            U Schedule E/F, line
          Number              Street                                                                                        0 Schedule G, lute
          City                                                                State                     ZIP Code

 3.3
                                                                                                                            U   Schedule D, line
          Name
                                                                                                                            U   Schedule E/F, line
          Numbor              Isireet                                                                                       LI Schedule C, line
          City                                                                State                     ZIP Code



 Official Form 106H                                                                     Schedule H: Your Codebtors                                                page 1 of
         Case 24-55036-jwc                             Doc 24         Filed 06/07/24 Entered 06/07/24 15:25:24                                   Desc Main
                                                                     Document      Page 37 of 50

Debtor 1
                   First Name
                                aVEIA        , CV\
                                        Middle Name
                                                      12Q-s
                                                          ast Name
                                                                         (ShAdi‘                      Case number or known)



                  Additional Page to List More Codebtors


        Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:
3._ I
                                                                                                             0 Schedule D, line
         Name
                                                                                                             0 Schedule E/F, line
         Number           Street                                                                             0 Schedule G, line

         City                                                  State                      ZIP Code

3.
                                                                                                             0 Schedule D, line
         Name
                                                                                                             0 Schedule E/F, line
         Number           Street                                                                             0 Schedule G, line

         City                                                  State                      ZIP Code

 3._
                                                                                                              0 Schedule D, line
         Name
                                                          •                                                   0 Schedule FJF, line
         Number            Street                                                                             0 Schedule G, line

         City                                                  State                      ZIP Code

 3._
                                                                                                              0 Schedule D, line
         Name
                                                                                                              0 Schedule E/F, line
                           strept                                                                         -- .0 SthPrilt!9 r; line
         Nuniter


          City                                                  State                     ZIP Code
 3._
                                                                                                              0    Schedule D, line
          Name
                                                                                                              0 Schedule E/F, line
                           Street                                                                             0    Schedule G, line
          Number


           City                                                 State                      ZIP Code


                                                                                                               0   Schedule D, line
           Name
                                                                                                               0 Schedule E/F, line
           Number           Street                                                                             El Schedule G, line


           City                                               . State                 •    ZIP Code

 3._
                                                                                                               0 Schedule D, line
           Name
                                                                                                               0   Schedule E/F, line

           Number           Sireet                                                                             El Schedule G, line ,....,.   .


           City                                                  State                     ZIP Code


                                                                                                               O Schedule D, line
           Name
                                                                                                               •   Schedule E/F, line

                            Street                                                                             O Schedule G, line
           Number


           City                                                  State                     ZIP Code




Official Form 106H                                                       Schedule H: Your Codebtors                                                 page     of
       Case 24-55036-jwc                           Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                         Desc Main
                                                                    Document      Page 38 of 50


 Fill in this information to identify your case:


 Debtor 1              CAA(
                   First Name
                                      11(411 ‘
                                                  Middle Name hillil    t      Last   5 A•4,z-t,
 Debtor 2
 (Spouse, if Sing) First Name                     Middle Name                  Last Name


 United States Bankruptcy Court for the:                        District of

 Case number
 (If known)
                    14          -   53-0                                                                           Check if this is:
                                                                                                                   •     An amended filing
                                                                                                                   •     A supplement showing postpetition chapter 13
                                                                                                                         income as of the following date:
Official Form 1061                                                                                                       MM / DD/ YYYY

Schedule I: Your Income                                                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Employment


1. Fill in your employment
   information.                                                                         Debtor 1                                   Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional                 Employment status                 Employed                                        U Employed
    employers.                                                                  veNot employed                                     U Not employed

    Include part-time, seasonal, or
       iileniployed vvoTk. '
    Ocuupatiutt
    or homemaker, if it applies.
                                                 Employer's name


                                                 Employer's address
                                                                                      Number Street                               Number     Street




                                                                                      City            State   ZIP Code            City                  State ZIP Code

                                                 How long employed there?



  Part 2:          Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                                              For Debtor 1        Foi Debtor 2 or
                                                                                                                                  non-filiug spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.                      2.      $        0 0


  3. Estimate and list monthly overtime pay.                                                          3. +$ O.         00              $


  4. Calculate gross hicuttie. Add line 2 + line 3.
                                                                                                           L st‘         Di


Official Form 1061                                                            Schedule I: Your Income                                                         page 1
      Case 24-55036-jwc                      Doc 24         Filed 06/07/24 Entered 06/07/24 15:25:24                                           Desc Main
                                                           Document      Page 39 of 50

Debtor 1                                                                                                 Case number (irknown) 2- 61   3-15- 6 3 6 --(Titki

                                                                                                        For Debtor 1         For Debtor 2 or
                                                                                                                             non-filing spouse
   Copy line 4 here

 5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                       5a.        $   ID 1010             $
     5b. Mandatory contributions for retirement plans                                        5b.        $   b     ' 1)13        $
     5c. Voluntary contributions for retirement plans                                        5c.        $   to # 0-1)           $
     5d. Required repayments of retirement fund loans                                        5d.        $   t    ,0 - D         $
     5e. Insurance                                                                           5e.        $       0, 00           $
     5f. Domestic support obligations                                                        5f.        $       0 .0V           $
     5g. Union dues                                                                          5g.        $       0 , VO          $

     5h. Other deductions. Specify:                                                           5h. + $        0-D O           + $

  6 Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.               6.        $   0 i 15 °            $

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                      7.        $   0 Dv                $
• 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
           monthly net income.                                                                8a.
                                                                                                        $04 °
     8b. Interest and dividends                                                               8b.       $
     Sc.          support payrner.-- thvt you, a t;10,!-;•ain., z.:p0,..sce, or v. dr.,prtoder*
                      2 , 40 ,fs.
           Include alimony, spousal support, child support, maintenance, divoree
                                                                                              8c.       $
           settlement, and property settlement.
     8d. Unemployment compensation                                                            8d.       $       tb
      8e. Social Security                                                                     8e.

      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental
          Nutrition Assistance Program) or housing subsidies.
          Specify:                                                                   8f.                $        6 b
      8g. Pension or retirement income                                                        8g.       $            D
      8h. Other monthly income. Specify:                                                          8h. +$    0. ob
• 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                        9.    s3ro
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                   10.
                                                                                                                                                       $92-A
 11. State all other regular contributions to the expenses that you list in Schedule J
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed iii Schedule J.
     Specify:                                                                                                                                    11.4 $'D
112. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
!    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                          12.
                                                                                                                                                       Combined
                                                                                                                                                       monthly income
 1 13. Do y u expect an increase or decrease within the year after you file this form?
      -    No.
      D Yes. Explain:

 Official Form 1061                                                   Schedule I: Your Income                                                             page 2
              Case 24-55036-jwc                      Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                        Desc Main
                                                                      Document      Page 40 of 50


        Fill in this information to identify your case:

        Debtor 1           CJI(tek4AAkQ
                           First Name
                                                               Ak
                                                     Middle Name                 Last Name                     Check if this is:
        Debtor 2                                                                                               LI An amended filing
        (Spouse, if filing) First Name               Middle Name                 Last Name

                                                                                                               I:i A supplement showing postpetition chapter 13
        United States Bankruptcy Court for the:                    District of                                     expenses as of the following date:
        Case number
        (If known) '
                             2. -        5o                                                                        MM / DD/ YYYY



  Official Form 106J
  Schedule J: Your Expenses                                                                                                                                         12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
  information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
  (if known). Answer every question.

    Part 1:               Describe Your Household

1. Is this a joint case?

        LON°. Go to line 2.
         D Yes. Does Debtor 2 live in a separate household?

                         No
                      CI Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2 Do you have dependents?                          CI No                                     Dependent's relationship to                 Dependent's      Does dependent live
         Do not list Debtor 1 and                 1)21es. Fill out this information for      Debtor 1 or Debtor 2                        age              with you?
         Debtor 2                                     each d.. pendent
         Do not state the depfindens'
         ild2tr ICS.
                                                                                                            42)(
                                                                                                                                         12                L] No
                                                                                                   5tr                                                  1 1,ZrYes

                                                                                                                                         ID               Li No
                                                                                                                                                        0011—Yes
                                                                                               OrzA0),                                                    EJ No
                                                                                                                                                        'VJ   Yes

                                                                                                                                          tp             Li No
• •••
                                                                                                                                                        00 Yes
  3. Do your expenses include
                                                  verNo
          expenses of people other than
          yourself and your dependents?            El Yes

  Part 2:              Estimate Your Ongoing Monthly Expenses

    Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
    expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
    applicable date.
    Include expenses paid for with non-cash government assistance if you know the value of
    such assistance Anti Nava. io,-:luded :1 on Schedule I: Your Income (Official Form 1061.)                                               Your expense,:

        4. The rental or      ue ownership expenses for your residence. Include first mortgage payments and
           any rent for the ground or lot.                                                                                         4.
                                                                                                                                           $

            If not included in line 4:
            4a. Real estate taxes                                                                                                  4a.     $    ULD
            4b. Property, homeowner's, or renter's insurance                                                                       4b.     $

            4c. Home maintenance, repair, and upkeep expenses                                                                      4c.           b_
            4d. Homeowner's asttociation ur .iondominium dues                                                                      4d.     $


Official Form 106J                                                         Schedule J: Your Expenses                                                            page 1
        Case 24-55036-jwc                        Doc 24    Filed 06/07/24 Entered 06/07/24 15:25:24                                                 Desc Main
                                                          Document      Page 41 of 50

Debtor 1            Ct
                 First Name
                              a 411A 124"
                                   Middle Name
                                                                 I,.                     Case number (if known)        2     4f       5- 5-6 3                    -J

                                                                                                                                  Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                    5.              $ bb
 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.             $ friDO -0 D
      6b. Water, sewer, garbage collection                                                                        6b.             $ jct
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          Sc.             $ / 41b                 Di)
      6d. Other. Specify:                                                                                         6d.             sb           op
                                                                                                                                  $           Tobj)
 7. Food and housekeeping supplies                                                                                7.

 8. Childcare and children's education costs                                                                      8.              $   16 6 'C'b
 9. Clothing, laundry, and dry cleaning                                                                           9.              $    1Cot ,0
10. Personal care products and services                                                                           10.             $       Cb,D
11. Medical and dental expenses                                                                                   11.             $       0
12. Transportation. Include gas, maintenance, bus or train fare.                                                                  $                             ce?
    Do not include car payments.                                                                                  12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.             $   0
14. Charitable contributions and religious donations                                                              14.             $                        14
15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

      ioa. Life insurance                                                                                         15a.                        t
      15b. Heaitn insurance                                                                                        i


      15c. Vehicle insurance                                                                                      15c.            $       __454!) • 0
      15d. Other insurance. Specify:                                                                              15d.            sp .1) b
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.             $    Dwoo

17. Installment or lease payments:

      17a.Car payments for Vehicle 1                                                                              17a.            $   0 , C9 -6
      17b. Car payments for Vehicle 2                                                                             17b.            $   DU1j7
      17c. Other. Specify:                                                                                        17c.            $ 6 • Do
      17d. Other. Specify'                                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule!, Your Income (Official Form 1061).                                                   18.        $                   oo
19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                         19.        $
• 2. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                            20a.            $           17      0
      zob. Real estate taxes                                                                                      20b             $                  Ott
       20c. Property, homeowner's, or renter's insurance                                                          20c.            $               014.1
       20d. Maintenance, repair, and upkeep expenses                                                              20d.            $

       20e. Horneowi iei's association or condominium dues                                                        20e.            $.LAI_O_D_



Official Form 106J                                           Schedule J: Your Expenses                                                                                page 2
      Case 24-55036-jwc                         Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                                 Desc Main
                                                                Document      Page 42 of 50

Debtor 1          C.Z11,"-tyN AesktAA Si,httl/k
                 First Name       Middle Name       Last Name
                                                                                                Case number (if known)      2'II 5-5 6 3

21. Other. Specify:                                                                                                      21.    +$


22. Calculate your monthly expenses.

    22a. Add lines 4 through 21.                                                                                     22a.

    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             22b.                 -0
    22c. Add line 22a and 22b. The result is your monthly expenses.                                                  22c.        $



23. Calculate your monthly net income.
   23a. Copy line 12 (your combined monthly income) from Schedule I.                                                     23a.    $    3        o
   23b. Copy your monthly expenses from line 22c above.                                                                  23b.
                                                                                                                                -$ LC 24 (0-6
   23c.     Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                       23c.    s-   l”tiot
24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your
    mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
          Yes.      Explain here:
                                                                                   5          r k_
                              r                 c                loq-KAPy 1.11 5 CI                               -e




Official Form 106J                                                Schedule J: Your Expenses                                                        page 3
              Case 24-55036-jwc                     Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                 Desc Main
                                                                       Document      Page 43 of 50

Fill in this information to identify your case:

Debtor 1                    .NIV\ILie‘         17          +tiN              / 1 444%
                  FiC    trne                   Middle ame                         Last Name

Debtor 2
(Spouse, if filing) Fast Name                   Middle Name                       Last Name


United States Bankruptcy Court for the:                        District of

Case number
 (If known)
                    211 -                      L-             LAI AZ                                                                                O Check if this is an
                                                                                                                                                         amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  II creditors have claims secured by your property, or
  IN you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

                      ;.he creditcr and th propertv itnt.          -nilateral                    What do you intend to do with the r , -lefty   Did yoi e:!Iirn the PrOPPITI'v
                                                                                                 cnr.itres a debt?                              as exempt on Schedule C?

           Creditor's       L,
           name:            NcJii          r                                               4,c CI Surrender the property.                       0 No
                                                                                               ie,Erlietain the property and redeem it.         CI Yes
          Description of
          property
                                                                                                0 Retain the property and enter into a
                                                                                                    Reaffirmation Agreement.
          securing debt:
                                                                                                D Retain the property and [explain]:



           Creditor's                                                                           El Surrender the property.                          No
           name:
                                                                                                U Retain the property and redeem it.            CI Yes
           Description of
           property
                                                                                                 0 Retain the property and enter into a
           securing debt:                                                                           Reaffirmation Agreement.
                                                                                                 U Retain the property and [explain]:



           Creditor's                                                                            0 Surrender the property.                      Li No
           name:
                                                                                                 0 Retain the property and redeem it.            CI Yes
           Description of
                                                                                                 El Retain the property and enter into a
           property
           securing dehr.                                                                           Reaffirmation Agreement.
                                                                                                    Retain the property and [explain]:



           Creditor's                                                                            0 Surrender the property.                       0 No
           name:
                                                                                                    Retain the property and redeem it.           CI Yes
           Description of '
           property
                                                                                                 CI Retain the property and enter into a
           securing debt:                                                                           Reaffirmation Agreement.
                                                                                                 D Retain the property and [explain]:



    Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                                          page 1
           Case 24-55036-jwc                  Doc 24         Filed 06/07/24 Entered 06/07/24 15:25:24                              Desc Main
                                                            Document      Page 44 of 50

Debtor 1                                                                                     Case number (If known)
               Forst Narne     Middle Nests     Last Name




  Part 2:      List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

       Describe your unexpired personal property leases                                                                  Will the lease be assumed?

      Lessor's name:                                                                                                  L_D4'dti
                               triU2 11-20                        e(
                                                                                                                 —      D Yes
      Description of leased
      property:


      Lessor's name:                                                                                                       No
                                                                                                                        LI Yes
      Description of leased
      property:


      Lessor's name:                                                                                                    UNo

      Description of leased                                                                                             0 Yes
      property:


       Lessor's name:                                                                                                   D No
                                                                                                                        CI Yes
       Description of leased
       property:

             —„—
       Lessor's name:                                                                                                      No
                                                                                                                           Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      No
                                                                                                                        LI Yes
       Description of leased
       property:


       Lessor's name:                                                                                                   LI No
                                                                                                                           Yes
       Description of leased
       property:




   Part 3:       Sign Below



      Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
      personal property that is subject to an unexpired lease.




       Signature of Debtor 1                                      Signature of Debtor 2

       Date 114Lp
            ninu Do     1-VA                                      Date
                                                                         MM/   DD /   YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                              page 2
       Case 24-55036-jwc                         Doc 24             Filed 06/07/24 Entered 06/07/24 15:25:24                          Desc Main
                                                                   Document      Page 45 of 50


 Fill in this information to identify your case:

 Debtor 1                                                      ItAAn
                    First Name                   Middle Name                 Last Name

 Debtor 2
 (Spouse, if tiling) First Name                  Middle Name                 Last Name


 United States Bankruptcy Court for the:                       District of

 Case number 2.) 1                5 ..c121                L") deo,                                                                    CI Check if this is an
             (If known)                                                                                                                    amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                   Your assets
                                                                                                                                   Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
    la. Copy line 55, Total real estate, from Schedule A/B                                                                             $   osLo

    lb. Copy line 62, Total personal property, from Schedule A/B                                                                       $   040 —6

                                     dil propertv or, 3g.:iieJule NB



Part 2:         Summarize Your Liabilities



                                                                                                                                    Your liabilities
                                                                                                                                    Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
   2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D                  $510-72, 6
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
   3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F
                                                                                                                                       $    ()coo
     3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F



                                                                                                          Your total liabilities       $   vLiopebi i soo

cm               Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 1061)
     Copy your combined monthly income from line 12 of Schedule I

 5. Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                 page 1 of 2
        Case 24-55036-jwc                      Doc 24          Filed 06/07/24 Entered 06/07/24 15:25:24                              Desc Main
                                                              Document      Page 46 of 50

  Debtor 1        C
               First Name
                            alrANAte    *
                                 Middle Name       Last ame
                                                                                                Case number (if known)   2 f - 5-51) 31,
  Part 4:    Answer These Questions for Administrative and Statistical Records


  6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      Li No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    vErYes


  7. What kind of debt do you have?

      Li Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
         family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

    141—Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



  8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
     Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




    . Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                         Total claim


        From Part 4 on Schedule h/F, copy tilt- frolowing:


      9a. Domestic support obligations (Copy line 6a.)                                                   $ 0,b

      9b. Taxes and certain other debts you owe the government. (Copy line 6b.)


      9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                sb. 01)
      9d. Student loans. (Copy line 6f.)


      9e. Obligations arising out of a separation agreement or divorce that you did not report as        $     DdO (te
          priority claims. (Copy line 6g.)


      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)


      9g. Total. Add lines 9a through 9f.




Official Form 106Sum        Summary of Your Assets and Liabilities and Certain Statistical Information                                      page 2 of 2
              Case 24-55036-jwc                       Doc 24            Filed 06/07/24 Entered 06/07/24 15:25:24                                                Desc Main
                                                                       Document      Page 47 of 50

Fill in this information to identify your case:

Debtor 1                    rneiv\-e4"
                            4147-
                    First                        Middle Name                     Last Name

Debtor 2
(Spouse, if filing) First Name                   Middle Name                      Last Name


United States Bankruptcy Court for the:                        District of   .

Case number
 (If known)
                     2(1- 55 03 L3
                                                                                                                                                                Li Check if this is an
                                                                                                                                                                     amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

    VI:1-7\10
        D Yes. Name of Pelson                                                                             . Attach Bankruptcy Petitinr; Prepared s Aice, 1.$6,71c.:ton, and
                                                                                                           SignAture (Official Form 11q)




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct




      x Ca* 401,14is
          Signature of Debtor 1
                                                                                 x Signature of Debtor 2
           Date 126 0 1
                  MM)       DD   /   YYYY
                                            VI                                        Date
                                                                                              MM/ DD I   YYYY




    Official Form 106Dec                                               Declaration About an Individual Debtor's Schedules
        Case 24-55036-jwc                        Doc 24              Filed 06/07/24 Entered 06/07/24 15:25:24                                 Desc Main
                                                                    Document      Page 48 of 50
 Fill in this information to identify your case:                                                           Check one box only as directed in this form and in
                                                                                                           Form 122A-1Supp:
 Debtor 1
                    First flme
                              '2A1-              Middle Name                 tact Name
                                                                                                         ka<There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name                  Middle Name                 Last Name                     1:1 2. The calculation to determine if a presumption of
                                                                                                                  abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the:                       District of                                        Means Test Calculation (Official Form 122A-2).
 Case number
 (If known)
                     2}1          6 .-5 -D   3        ---jilt ) I'L                                        U 3. The Means Test does not apply now because of
                                                                                                                qualified military service but it could apply later.



                                                                                                           1:1 Check if this is an amended filing



Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                               10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(6)(2) (Official Form 122A-1Supp) with this form.

   Part 1:          Calculate Your Current Monthly Income

     . Wh, t is your Marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
        U Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

        U Married and your spouse is NOT filing with you. You and your spouse are:
              U      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              •      1:/virrg separately or aro legally separated. Fill out Colu,,,n 115Z3 2 11; dc r:ot        `7.cluron B. i-ty cherklog this boy, yoi declare
                             oonril         y that you and your sp..g./..:o arP     separated under noribar.!za iptty !aw t.htapplie^ or that.vm qnlii
                     spouse are :iving apart for reasons that do not include evatang the Means lest requid en ierils. 11 U.S.G. $ 7u/ kuj(r)63).
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
         income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                               Column A           Column B
                                                                                                               Debtor 1           Debtor 2 or
                                                                                                                                  non-filing spouse
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
       (before all payroll deductions).                                                                        sto 0(7.
    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.                                                                                  so et)
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.
    5. Net income from operating a business, profession,
                                                                             Debtor 1     Debtor 2
       or farm
       Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                           - $         - $
                                                                                                     Copy
         Net monthly income from a business, profession, or farm                $                    here4     $D 1 CD

    6. Net income from rental and other real property                         Debtor 1    Debtor 2
       Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                           - $         - $
                                                                                                     Copy      ,7\
         Net monthly income from rental or other real property                                       here--)   $L)'      0
    7. Interest, dividends, and royalties                                                                      so'o

 Official Form 122A-1                                Chapter 7 Statement of Your Current Monthly Income                                                   page 1
           Case 24-55036-jwc                          Doc 24           Filed 06/07/24 Entered 06/07/24 15:25:24                                    Desc Main
                                                                      Document      Page 49 of 50


     Debtor 1
                      First Name      Middle Name
                                                    /6-$1, Cutx
                                                          Last Name    situt4                           Case number or known)   :214-s- 5-0 3 4
                                                                                                                                 -




                                                                                                            Column A                 Column B
                                                                                                            Debtor 1                 Debtor 2 or
                                                                                                                                     non-filing spouse
        8. Unemployment compensation
            Do not enter the amount if you contend that the amount received was a benefit
            under the Social Security Act. Instead, list it here.             40
                 For you
                 For your spouse
        9. Pension or retirement income. Do not include any amount received that was a
           benefit under the Social Security Act. Also, except as stated in the next sentence, do
           not include any compensation, pension, pay, annuity, or allowance paid by the
           United States Govemment in connection with a disability, combat-related injury or
           disability, or death of a member of the uniformed services. If you received any retired
           pay paid under chapter 61 of title 10, then include that pay only to the extent that it
           does not exceed the amount of retired pay to which you would otherwise be entitled if
           retired under any provision of title 10 other than chapter 61 of that title.
        10.Income from all other sources not listed above. Specify the source and amount.
           Do not include any benefits received under the Social Security Act; payments received
           as a victim of a war crime, a crime against humanity, or international or domestic
           terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
           States Government in connection with a disability, combat-related injury or disability, or
           death of a member of the uniformed services. If necessary, list other sources on a
           separate page and put the total below.




                Total amounts from separate pages, if any.

--      1i. kl-ticulate your total current monthly !rvz.,,itte. Arifl lines 2 ihroi            !-igch
        • coil irnri,_Then add, he total for r.olumn 8 to the total for Column B.          -                                                ,O .
                                                                                                                                                         I Wel Curren,
                                                                                                                                                         monthly income

         Part 2:          Determine Whether the Means Test Applies to You

        12. Calculate your current monthly income for the year. Follow these steps:
            12a. Copy your total current monthly income from line 11                                                            Copy line 11 here+

                      Multiply by 12 (the number of months in a year).

            12b. The result is your annual income for this part of the form.                                                                    12b.

        13. Calculate the median family income that applies to you. Follow these steps:

            Fill in the state in which you live.

            Fill in the number of people in your household.

            Fill in the median family income for your state and size of household.                                                              13.
                To find a list of applicable median income amounts, go online using the link specified in the separate
                instructions for this form. This list may also be available at the bankruptcy clerk's office.


         14. How do the lines compare?


                           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                           Go to Part 3.




                14b. Ii    Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                           Go to Part 3 and fill out Form 122A-2.




      Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                page 2
       Case 24-55036-jwc                   Doc 24        Filed 06/07/24 Entered 06/07/24 15:25:24                                  Desc Main
                                                        Document      Page 50 of 50


Debtor 1                                                                                      Case number or known,   ut- 5-7 -6 is) ---j         fJ


 1:::111       Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


              X              pniAl         et Silk(                StriA
                 Signature of Debtor 1                                                        Signature of Debtor 2

                 Date   CIb 1-102H
                        MM/ DD    / YYYY
                                                                                              Date
                                                                                                     MM/ DD / YYYY

                 If you checked line 14a, do NOT fill out or file Form 122A-2.
                  If you checked line 14b, fill out Form 122A-2 and file it with this form.




 Official Form 122A-1                        Chapter 7 Statement of Your Current Monthly Income                                                 page 3
